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 16
                            UNITED STATES DISTRICT COURT
 17                        CENTRAL DISTRICT OF CALIFORNIA
 18
    PENSMORE REINFORCEMENT                      Case No. 5:21-cv-1556-JWH-SHK
 19 TECHNOLOGIES, LLC
 20 d/b/a HELIX STEEL,                          NOTICE OF HEARING ON
                                                MOTION; CORNERSTONE
 21             Plaintiff / Counterdefendant,   MANUFACTURING AND
 22                                             DISTRIBUTION, INC.’S MOTION
           v.                                   FOR PARTIAL SUMMARY
 23                                             JUDGMENT OF INVALIDITY
 24 CORNERSTONE MANUFACTURING
    AND DISTRIBUTION, INC.,                     Date: December 9, 2022
 25                                             Time: 9:00 a.m.
 26        Defendant / Counterclaimant.         Before Judge John W. Holcomb

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 28 ///
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  1          PLEASE TAKE NOTICE that on Friday, December 9, 2022, at 9:00 a.m., or as
  2 soon thereafter as the matter may be heard, in Courtroom 9D of the above-entitled
  3 Court, located at 411 West Fourth Street, Santa Ana, California 92701-4516,
  4 Defendant/Counterclaimant, Cornerstone Manufacturing and Distribution, Inc.
  5 (“Cornerstone”) will and hereby does move the Court, pursuant to Federal Rule of
  6 Civil Procedure 56(a) for partial summary judgment in Cornerstone’s favor, and
  7 against Plaintiff/Counterclaim Defendant Pensmore Reinforcement Technologies, LLC
  8 d/b/a Helix Steel (“Plaintiff” or “Helix”), as follows:
  9          • on Count I and Count II of Plaintiff’s First Amended Complaint (Doc. 29),
 10              on Cornerstone’s third Amended Separate Defense (Doc. 37 at 31:6–23), and
 11              on Cornerstone’s Amended Fourth Counterclaim and Amended Fifth
 12              Counterclaim (id. at 43:1–45:11), on the ground that there is no genuine
 13              dispute as to any material fact and Cornerstone is entitled to judgment as a
 14              matter of law that all asserted claims of U.S. Patent No. 10,266,970 are
 15              invalid under 35 U.S.C. § 102 (pre-AIA) and/or 35 U.S.C. § 103 (pre-AIA)
 16              and, thus, not infringed; and
 17          • on Cornerstone’s Amended Sixth Counterclaim, that the Helix 5-25 concrete-
 18              reinforcing microfiber on sale in 2009 and U.S. Patent No. 5,989,713 were
 19              material to the patentability of U.S. Patent No. 10,266,970.
 20          This motion will be based upon U.S. Patent No. 10,266,970; the attached
 21 Memorandum of Points and Authorities; the concurrently filed Statement of
 22 Uncontroverted Facts and Conclusions of Law; the concurrently filed declarations of
 23 undersigned counsel, Reuben Ramsay, and Fred Smith and exhibits to the declarations;
 24 the pleadings and papers filed in this action; and such other evidence and argument as
 25 may be properly received by the Court.
 26          Pursuant to Local Rule 7-3, counsel met and conferred on September 26, 2022
 27 regarding the substance of this motion. Plaintiff’s counsel advised that Plaintiff intends
 28 to oppose the motion.
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  3          October 13, 2022                        By: /s/ Scott R. Brown
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  1                              Memorandum of Points and Authorities
  2 I.     Introduction
  3          Cornerstone Manufacturing and Distribution, Inc. and Pensmore Reinforcement
  4 Technologies, LLC both sell twisted steel fibers that are used to reinforce concrete.
  5 Pensmore accuses Cornerstone’s SteelX twisted steel fibers of infringing Pensmore’s
  6 U.S. Patent No. 10,266,970.
  7          The claims of the ’970 patent are directed to fibers of particular dimensions,
  8 compositions, and shapes. Specifically, all the ’970 patent’s claims recite a fiber with a
  9 cross-sectional shape known as a “bilateral
 10 truncated circle”––essentially a rectangle with
 11 rounded ends instead of flat ones. This generally
 12 rectangular cross-sectional shape and the
 13 specific dimensions and aspect ratios of width
 14 (w) to thickness (t) were the only “inventions” even potentially disclosed in the ’970
 15 patent. Beginning several years before the critical date, Pensmore had been making
 16 and selling a twisted steel fiber with a triangular cross-sectional shape that was covered
 17 by an older patent it had licensed from the University of Michigan. Those triangular
 18 fibers were made from wire of the same original diameter, twisted at the same rate, cut
 19 to the same length, and even manufactured using the same machines and process as the
 20 generally rectangular fibers Pensmore purported to make and sell under its ’970 patent.
 21          But the triangular twisted steel fibers were not the only fibers Pensmore had
 22 been making and selling long before it sought a new patent. Nearly three years before
 23 the ’970 patent’s critical date, Pensmore had already switched from twisted steel fibers
 24 with a triangular cross-section to twisted steel fibers with a generally rectangular,
 25 bilateral truncated circle cross-section. Pensmore has admitted as much in written
 26 discovery responses. And Pensmore’s former CEO has testified that the generally
 27 rectangular fibers he helped design and manufacture were actually shaped like a
 28 rectangle with rounded ends—i.e., fibers having the same bilateral truncated circle
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 cross-section that Pensmore would seek to patent nearly three years after it started
  2 selling them.
  3          As shown below, Pensmore’s manufacture and sale of fibers with a bilateral
  4 truncated circle cross-sectional shape render the ’970 patent invalid for obviousness
  5 under the on-sale bar. Although the target dimensions and aspect ratios of the generally
  6 rectangular fibers differ slightly from the dimensions and aspect ratios disclosed in the
  7 ’970 patent, it would have been obvious to one of skill in the art to make the minuscule
  8 modifications necessary to arrive at the ’970 patent’s dimensions and aspect ratios.
  9 Indeed, those very modifications are disclosed or suggested in the University of
 10 Michigan patent under which Pensmore had licensed its earlier, triangular fiber design.
 11 But Pensmore did not disclose the University of Michigan patent or its own pre-
 12 existing, generally rectangular fibers to the Patent Office during prosecution of the
 13 ’970 patent.
 14          In addition to obviousness, the ’970 patent is also invalid as anticipated under
 15 the on-sale bar. Although Pensmore’s manufacturing target specifications may not
 16 have facially aligned with the dimensions and aspect ratios disclosed in the ’970
 17 patent, a box of twisted steel fibers sold by Pensmore in 2009 nonetheless contains
 18 fibers that meet all limitations of all claims of the ’970 patent.
 19          As shown below, the Court should enter summary judgment in favor of
 20 Cornerstone that Pensmore’s U.S. Patent No. 10,266,970 is invalid as obvious and/or
 21 anticipated. The Court should also enter summary judgment in Cornerstone’s favor
 22 that (1) the generally rectangular twisted steel fibers sold by Pensmore before the
 23 critical date and (2) U.S. Patent No. 5,989,713—i.e., the University of Michigan patent
 24 that Pensmore was licensed under but did not disclose to the Patent Office—were
 25 material to the ’970 patent’s patentability.
 26 II. Statement of Facts
 27        A. The original Helix 5-25 product
 28          Since the mid–2000s, Pensmore Reinforcement Technologies LLC d/b/a Helix
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 Steel and its predecessor, Polytorx LLC d/b/a Helix Steel (collectively, “Helix”), have
  2 sold concrete micro reinforcement fibers known as Helix 5-25. Statement of
  3 Undisputed Facts (“SUF”) ¶ 4. Helix 5-25 are twisted steel fibers, each about one inch
  4 (25 mm) long and half a millimeter in diameter, that are mixed into concrete in lieu of
  5 traditional concrete-reinforcing materials like rebar or mesh. Id. ¶¶ 5–6. Helix
  6 manufactured and sold Helix 5-25 fibers under an exclusive license to two now-
  7 expired patents owned by the University of Michigan, U.S. Patent No. 5,989,713
  8 (the “ ’713 patent”) and U.S. Patent No. 6,060,163 (the “ ’163 patent”). Id. ¶ 20.
  9          The original Helix 5-25 product had a roughly triangular cross-sectional shape,
 10 formed by a machine that passed round, galvanized-coated steel wire through three
 11 carbide rollers before twisting and cutting the fibers. Id. ¶¶ 7–9. After the wire was
 12 rolled into a triangular shape, the machine twisted the wire at a rate of approximately
 13 3.1 360-degree twists per inch. Id. ¶ 10–11. When the wire had been rolled and
 14 twisted, the machine fed the wire into a box that spun at high speeds and lopped the
 15 wire off in one-inch pieces as it came out of the box. Id. ¶ 12.
 16          Helix’s then-CEO, William Orabone, was heavily involved from the start in
 17 designing the machines used to make Helix 5-25 fibers and had intimate knowledge of
 18 their parts and operation. Id. ¶¶ 1–3, 13–15, 18–19. To create the original triangle
 19 shape, two of the three rollers in the machine had chamfered edges that fit together at
 20 angles to each other and to the third, flat roller. Id. ¶ 8. During the manufacturing
 21 process, zinc dust from the wire would build up between the pair of angled, chamfered
 22 rollers and push them apart, distorting the triangular shape of the fibers and requiring
 23 the machine to be shut down frequently for cleaning. Id. ¶ 30.
 24        B.    The change to a generally rectangular Helix 5-25 fiber
 25          In early 2007, Mr. Orabone and Helix’s founder and CFO, Luke Pinkerton,
 26 discussed changing the cross-sectional shape of Helix 5-25 fibers to generally
 27 rectangular—i.e., two long, flat opposing sides with two short, rounded ends. Id. ¶¶ 16,
 28 22. This shape would simplify the manufacturing process because only two flat,
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  1 parallel rollers were needed to form the rectangle’s opposing flat sides. Id. ¶¶ 28–29.
  2 Jettisoning the pair of angled, chamfered rollers would eliminate the zinc-dust-buildup
  3 issue and its associated frequent shutdowns for cleaning. Id. ¶ 31.
  4          Originally, Mr. Orabone and Mr. Pinkerton considered switching to a generally
  5 rectangular fiber with a width-to-thickness aspect ratio somewhere between 2:1 and
  6 3:4. Id. ¶ 34. By August 2007, they sought an outside engineering study to determine
  7 how to create a generally rectangular fiber that would perform “as close to equal as
  8 possible” to a triangular fiber. Id. ¶ 35. At that time, Mr. Pinkerton wrote that his “data
  9 suggests a rectangle with aspect ratio 2:1 has the same untwisting resistance as a
 10 triangle.” Id. ¶ 36. Mr. Pinkerton proposed testing the generally rectangular fibers with
 11 a 2:1 aspect ratio against fibers with a triangular cross section, because he believed
 12 Helix would “probably be stuck with the 0.5 mm fibers for low dosage applications”—
 13 i.e., the generally rectangular fibers would need to be made from the same half-
 14 millimeter-diameter wire that was used to make the roughly triangular fibers. Id. ¶ 37.
 15 Mr. Pinkerton hoped to finalize the design of experiment by September 1, 2007. Id.
 16 ¶ 38.
 17          The proposed change from a roughly triangular cross-section to a generally
 18 rectangular cross-section was not intended to improve Helix 5-25’s performance, and
 19 Mr. Pinkerton and Mr. Orabone did not expect rectangular fibers to perform any better
 20 in concrete than triangular ones. Id. ¶¶ 32–33. But after testing determined that
 21 generally rectangular fibers were an adequate substitute that performed about equally
 22 well as roughly triangular fibers, Helix moved forward with the change. Id. ¶ 27.
 23        C. The manufacture and sale of generally rectangular Helix 5-25 fibers
 24          The process of manufacturing generally rectangular Helix 5-25 fibers was
 25 exactly the same as the process of manufacturing roughly triangular Helix 5-25 fibers,
 26 except that only two flat, parallel rollers were used on the machine instead of the
 27 original configuration of three rollers. Id. ¶¶ 49, 55. The newly configured machines
 28 could use the same carbide rollers that were used to create the original configuration.
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  1 Id. ¶ 51. Thus, changing the roller configuration in the machines to produce generally
  2 rectangular fibers was a simple process that was “literally done overnight,” according
  3 to Mr. Orabone. Id. ¶ 50. In the newly configured machines, the thickness of the
  4 fiber—and, consequently, the aspect ratio—could be varied by adjusting a screw
  5 setting to increase or decrease the gap between the two flat rollers. Id. ¶ 52.
  6          As of May 2008, the manufacturing specifications for the generally rectangular
  7 Helix 5-25 fibers required three 360-degree twists per inch—i.e., three full twists per
  8 individual fiber piece. Id. ¶¶ 39–40. The specifications further required a generally
  9 rectangular cross-sectional shape with a thickness of 0.3013 mm (0.0123”) and a width
 10 of 0.627 mm (0.0246”). Id. In other words, the specifications required a rectangle with
 11 a width-to-thickness aspect ratio of 2:1. Id.
 12          According to Mr. Orabone, Helix was selling Helix 5-25 fibers with a generally
 13 rectangular cross-section in the United States by the week of May 14, 2008. Id. ¶ 24.
 14 Helix further admits in written discovery responses that it had changed the cross-
 15 sectional shape of the Helix 5-25 product to generally rectangular in about May 2008,
 16 and that it has offered for sale and sold a product under the name Helix 5-25 to
 17 customers in the United States from before January 1, 2009 through the present day.
 18 Id. ¶¶ 23, 25. Helix further characterizes the Helix 5-25 product that it sold between
 19 January 2009 and the critical date as “compris[ing] twisted steel fibers formed of metal
 20 used to reinforce concrete.” Id. ¶ 26.
 21          After Helix changed the cross-
 22 sectional shape of the Helix 5-25 fiber
 23 from roughly triangular to generally
 24 rectangular, the cross-sections of Helix
 25 5-25 fiber looked generally like the
 26 images on the right. Id. ¶ 48. In other
 27 words, the generally rectangular Helix 5-25 product had a cross-section that is a less-
 28 flat version of the “bilateral truncated circle” depicted in Figure 1B of the ’970 patent.
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 Id. ¶¶ 69–71. A “bilateral truncated circle” is “a shape somewhat like a rectangle only
  2 with two opposing flat sides and rounded sides[;] it may
  3 be thought of as a rectangle with two rounded opposite
  4 ends.” Id. ¶ 61. Mr. Orabone agrees that it would be
  5 accurate to characterize the cross-sectional shape of the
  6 Helix 5-25 when it became generally rectangular as
  7 “somewhat like a rectangle, only with two opposing flat
  8 sides and rounded sides.” Id. ¶ 47, 61–62.
  9          After Helix changed the cross-section of the Helix 5-25 product from roughly
 10 triangular to generally rectangular, the generally rectangular Helix 5-25 fiber was the
 11 only product Helix made and sold until at least 2011, when Mr. Orabone left the
 12 company. Id. ¶¶ 3, 44. From 2008 to 2011, Helix sold thousands of dollars of Helix 5-
 13 25 product with a generally rectangular cross-sectional shape. Id. ¶ 79.
 14          Once the change to a generally rectangular fiber had been made, there was no
 15 further research and development or attempt to change the design of the Helix 5-25
 16 product for the rest of Mr. Orabone’s tenure; there was not even discussion or
 17 consideration of additional changes. Id. ¶¶ 45–46. According to Mr. Orabone, Helix
 18 did not consider the Helix 5-25 product with a generally rectangular cross-section to be
 19 a new product. Id. ¶ 77. Mr. Orabone assumed that the fibers with a generally
 20 rectangular cross-section were covered by the same University of Michigan patents
 21 that covered the triangular cross-section design—i.e., the ’713 patent and the ’163
 22 patent. Id. ¶ 76. According to Mr. Orabone, he did not have discussions with anyone at
 23 Helix about trying to patent the Helix 5-25 fibers with a generally rectangular cross-
 24 section, because Helix did not feel it was making a substantive change to the fibers. Id.
 25 ¶ 78. Thus, according to Mr. Orabone, when Helix sold a generally rectangular Helix
 26 5-25 product during his time as CEO, Helix considered that product to be covered by
 27 the ’713 patent and the ’163 patent. Id. ¶ 21.
 28
      Cornerstone Manufacturing and Distribution Inc.’s
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  1          The generally rectangular Helix 5-25 product did not exhibit an increase in
  2 performance compared to the triangular Helix 5-25 product. Id. ¶ 72. The change in
  3 cross-sectional shape was made for the benefit of manufacturing efficiency. Id. ¶ 73.
  4 And the change to a generally rectangular cross-section did, in fact, make the Helix
  5 5-25 product less expensive to manufacture and allow Helix to increase output of the
  6 Helix 5-25 product. Id. ¶¶ 74–75.
  7          The machine diagram depicted in Figure 2 of the ’970 patent generally describes
  8 the machines that Mr. Orabone helped develop to manufacture the generally
  9 rectangular Helix 5-25 fibers. Id. ¶ 53. In
 10 those machines, a coil of wire is first fed
 11 through a roller to a flattener. Id. ¶¶ 54–55.
 12 After the wire has been flattened, it goes to a
 13 twister. Id. ¶ 56. After the wire has been
 14 flattened and twisted, it goes to a cutter.
 15 Id. ¶ 57. After the wire has been flattened,
 16 twisted, and cut, the individual fibers fall out of the cutter into a container. Id. ¶ 58.
 17          The flow diagram depicted in Figure 6 of the ’970 patent also generally
 18 describes the operation of the machines that Mr. Orabone helped develop to
 19 manufacture the generally rectangular Helix 5-25
 20 fibers. First, the machine receives a round wire.
 21 Id. ¶ 60. Next, the machine forms the wire into a fiber
 22 having a cross sectional shape of a bilateral truncated
 23 circle. Id. ¶ 61–63, 69–71. The machine then
 24 simultaneously pulls and twists the fiber a threshold
 25 number of twists per inch. Id. ¶ 64. Finally, the
 26 machine cuts the fiber to a specified length. Id. ¶ 65.
 27 This cutting step is performed with a spinning carbide
 28 blade, which cuts the fiber without holding an end of the wire. Id. ¶ 66.
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  1          After Helix changed the cross-sectional shape of the Helix 5-25 fibers from
  2 triangular to generally rectangular, Helix made no changes to the basic functionality of
  3 the machine used to make the Helix 5-25 fibers. Id. ¶ 59, 67. Any changes Helix made
  4 to the machine after changing the Helix 5-25 fibers’ cross-section shape were minor
  5 improvements designed to drive down the cost of the machine. Id. ¶ 59, 68.
  6        D. Helix’s sales of generally rectangular Helix 5-25 product to Helix Fiber
  7           Australasia
  8          In 2009, Helix had no foreign sales force but worked directly with a partner in
  9 Australia called Helix Fiber Australasia Pty Ltd (“Helix Fiber Australasia”). Id. ¶¶ 81–
 10 82. Under the partnership with Helix Fiber Australasia, Helix sold Helix 5-25 product
 11 to Helix Fiber Australasia, which Helix Fiber Australasia then resold to its customers
 12 in its territories. Id. ¶ 83. Kevin Fuller of Helix Fiber Australasia emailed orders for
 13 Helix 5-25 product directly to Mr. Orabone, and Mr. Orabone took the orders and
 14 arranged the logistics of shipping and delivery. Id. ¶ 84–85.
 15          All Helix 5-25 fibers with a generally rectangular cross-sectional shape were
 16 manufactured in Grand Rapids, Michigan. Id. ¶ 80. When Helix 5-25 product was
 17 shipped from Helix to Helix Fiber Australasia, Helix Fiber Australasia took title to the
 18 product once the order left the Helix plant in Michigan and was thereafter responsible
 19 for loss or damage to the product. Id. ¶ 86. Helix Fiber Australasia paid for the product
 20 by wiring money from Australia to a U.S. account owned by Helix. Id. ¶ 87.
 21          Any Helix 5-25 product manufactured by Helix in 2009 would have been the
 22 same product whether it was sold in the United States or in Australia. Id. ¶ 88. Because
 23 Helix was making product as fast as it could sell it and rarely held inventory of Helix
 24 5-25 for more than 30 to 40 days before it was sold, any Helix 5-25 fibers made in
 25 February 2009 would have been expected to sell in 2009. Id. ¶¶ 89–91.
 26        E.    The box of generally rectangular Helix 5-25 fibers sold by Helix Fiber
 27              Australasia in 2009
 28          Reuben Ramsay (“Mr. Ramsay”) is a former sales agent for Helix Fiber
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  1 Australasia who sold Helix 5-25 fibers during his association with the company. Id.
  2 ¶¶ 92–93. On or about September 25, 2009, Mr. Ramsay sold 40 boxes of Helix 5-25
  3 fibers, each weighing 45 pounds, to Ross Armstrong of Coolibah Plains, Comet,
  4 Queensland, Australia. Id. ¶ 94. At Mr. Armstrong’s property, Mr. Ramsay personally
  5 observed the pouring of concrete containing the Helix 5-25 fibers Mr. Ramsay had
  6 sold to him. Id. ¶ 95.
  7          The September 2009 sale to Ross Armstrong was the second sale of Helix 5-25
  8 fibers that Mr. Ramsay had made. Id. ¶ 96. Mr. Ramsay did not make another sale of
  9 Helix 5-25 fibers to Ross Armstrong or any other member of his family after the
 10 September 2009 sale. Id. ¶ 97. Within a year or two after 2009, the size of each box of
 11 Helix 5-25 fibers sold in Australia changed from 45 pounds to 22 pounds. Id. ¶ 116.
 12 When Mr. Ramsey learned in early 2020 that Cornerstone was interested in finding
 13 Helix 5-25 fibers sold during the timeframe that he made the sale to Ross Armstrong,
 14 he contacted Ross Armstrong’s son, Jono Armstrong. Id. ¶¶ 98–99. Jono Armstrong
 15 informed Mr. Ramsay that the Armstrongs still had residual Helix 5-25 product from
 16 the September 2009 purchase. Id. ¶ 99. Mr. Ramsay asked the Armstrongs to return
 17 some of this product to him, which they agreed to do. Id. ¶ 100.
 18          Mr. Ramsay received back from the Armstrongs six 45-pound boxes of Helix 5-
 19 25 product. Id. ¶ 101. One of the boxes (the “Opened Box”), had been opened and was
 20 about half empty. Id. ¶ 102. The remaining five boxes (the “Unopened Boxes”)
 21 appeared to be full of Helix 5-25 product. Id. ¶ 103. The paper tape originally used to
 22 close the Unopened Boxes was partially deteriorated on some of the Unopened Boxes,
 23 apparently due to the passage of time. Id. ¶ 104.
 24          One of the Unopened Boxes (the “Sample Box”) had an extra piece of plastic
 25 tape placed over the paper tape along the top when Mr. Ramsay received the Sample
 26 Box from the Armstrongs. Id. ¶ 105. Underneath that plastic tape is paper tape with a
 27 printed legend featuring the handwritten date 02-25-09, lot number 128, machine
 28 number M2, and a set of initials. Id. ¶¶ 106–08, 110–11. According to Mr. Orabone, lot
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  1 number 128 would be consistent with a February 2009 manufacturing date. Id. ¶ 109.
  2 These handwritten entries on the printed legend were present when Mr. Ramsay
  3 received the Sample Box from the Armstrongs. Id. ¶ 112.
  4          Based on Mr. Ramsay’s years of experience selling Helix 5-25 product as a sales
  5 agent for Helix Fiber Australasia, the Sample Box, the other Unopened Boxes, and the
  6 Opened Box appeared to Mr. Ramsay to be genuine boxes of Helix 5-25 product as
  7 sold by Helix Fiber Australasia in 2009 and after. Id. ¶ 113–15. Mr. Ramsay selected
  8 the Sample Box to send to Hovey Williams LLP. Id. ¶ 117. Except as expressly
  9 described below, he did not alter the Sample Box, the other Unopened Boxes, the
 10 Opened Box, or their contents. Id. ¶ 118.
 11          To document the state of the Sample Box, the other Unopened Boxes, and the
 12 Opened Box, Mr. Ramsay videographed himself as he inspected them. Id. ¶ 119. To
 13 preserve the Sample Box and transport it to the United States, Mr. Ramsay added
 14 several strips of packing tape, labeling each strip of packing tape that he added with
 15 either his name or his initials, “RR,” to distinguish it from the tape that was originally
 16 on the Sample Box when he received it from the Armstrongs. Id. ¶¶ 120–21. After
 17 adding packing tape to the Sample Box, Mr. Ramsay sealed it in wrap and put it in a
 18 large container, which he shipped to Hovey Williams Id. ¶ 122.
 19          On April 18, 2022, Hovey Williams LLP received the Sample Box. Id. ¶ 123.
 20 On April 19, 2022, Hovey Williams, LLP sent a sample of fibers from the Sample Box
 21 to Cornerstone’s expert, Fred Smith, who received the sample on April 20, 2022. Id.
 22 ¶¶ 125–26.
 23        F.    The patents-in-suit and Helix’s infringement allegations
 24          The ’970 patent, entitled “Concrete Reinforcing Fibers,” issued on April 23,
 25 2019 from Application No. 14/390,270, which was filed on September 14, 2012 and
 26 claims priority to Provisional Application No. 61/619,466, filed on April 3, 2012. Id.
 27 ¶ 127. The ’713 patent, the roughly triangular Helix 5-25 product, and the generally
 28 rectangular Helix 5-25 product were not disclosed to the Patent Office during
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  1 prosecution and do not appear on the face of the ’970 patent. Id. ¶¶ 128–33.
  2          U.S. Patent No. 9,440,881 (the “ ’881 patent”), entitled “Micro-Rebar Concrete
  3 Reinforcement System,” issued on September 13, 2016 from Application No.
  4 14/652,541, which was filed on December 18, 2013 and claims priority to Provisional
  5 Application No. 61/738,483, filed on December 18, 2012. Id. ¶ 134. The ’713 patent
  6 was disclosed to the Patent Office during prosecution of the ’881 patent and appears on
  7 its face. Id. ¶ 135.
  8          Plaintiff alleges that all past and present versions of Cornerstone’s twisted steel
  9 concrete-reinforcing fibers, which are marketed, offered for sale, and sold in the
 10 United States and abroad under at least the names SteelX, SteelX 5:25 Gold, Badger
 11 5:25, SteelX Rebar, Twisted Steel Rebar, and TSR (the “Accused Products”), as well
 12 as the concrete composite structures in which the Accused Products are used, infringe
 13 claims 1–22 of the ’970 patent and claims 3–7 of the ’881 patent (the “Asserted
 14 Claims”). Id. ¶ 136.
 15 III. Argument
 16        A. Legal standards for summary judgment of invalidity
 17          Summary judgment is proper when there is no genuine dispute as to any
 18 material fact and the moving party is entitled to judgment as a matter of law. Fed. R.
 19 Civ. P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Anderson v.
 20 Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986) (only disputes over facts that might
 21 affect outcome of suit under governing substantive law will properly preclude entry of
 22 summary judgment under Rule 56). “Summary judgment is as appropriate in a patent
 23 case as in any other.” Barmag Barmer Maschinenfabrik AG v. Murata Mach., Ltd., 731
 24 F.2d 831, 835 (Fed. Cir. 1984). Where no genuine dispute of material fact remains and
 25 the movant is entitled to judgment as a matter of law, the court should apply Rule 56 to
 26 “avoid unnecessary expense to the parties and wasteful utilization of the jury process
 27 and judicial resources.” Id.
 28          Although issued patent claims are presumed valid, see 35 U.S.C. § 282, that
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  1 presumption can be overcome by clear and convincing evidence. Microsoft Corp. v. i4i
  2 Ltd. P’ship, 564 U.S. 91, 95 (2011). A motion for summary judgment on the
  3 affirmative defenses of patent invalidity, including the on-sale bar and obviousness, is
  4 proper when the factual inquiries present no genuine issue of material facts. See, e.g.,
  5 Junker v. Med. Components, Inc., 25 F.4th 1027, 1029, 1035 (Fed. Cir. 2022)
  6 (reversing district court’s denial of summary judgment of invalidity based on the on-
  7 sale bar); Intercontinental Great Brands LLC v. Kellogg N. Am. Co., 869 F.3d 1336,
  8 1339, 1351 (Fed. Cir. 2017) (affirming district court’s summary judgment of invalidity
  9 for obviousness). Summary judgment should not be denied pending discovery where
 10 the party opposing summary judgment cannot show that the evidence sought could
 11 preclude the grant of summary judgment. Hoffer v. Microsoft Corp., 405 F.3d 1326,
 12 1331–32 (Fed. Cir. 2005). For example, in the face of a particularly strong prima facie
 13 case of obviousness, even “substantial” evidence of secondary considerations of non-
 14 obviousness cannot preclude summary judgment of invalidity. See Intercontinental,
 15 869 F.3d at 1341–42, 1348 (affirming summary judgment of obviousness).
 16        B.    The ’970 Patent is invalid as obvious or anticipated in view of the
 17              generally rectangular Helix 5-25 fibers on sale before the critical date.
 18          An invention is not eligible for patent protection if it was “in public use or on
 19 sale in this country, more than one year prior to the date of the application for patent in
 20 the United States.” 35 U.S.C. § 102(b) (pre-AIA).1 The purpose of the on-sale bar is to
 21 prevent an inventor from filing for a patent after his invention has been commercially
 22 marketed, whether by the inventor or by a third party. Meds. Co. v. Hospira, Inc., 827
 23
 24   1
      The pre-AIA version of § 102(b) applies because the effective filing date of the ’970
 25 patent was before March 16, 2013. E.g., Blue Calypso, LLC v. Groupon, Inc., 815 F.3d
 26 1331, 1341 (Fed. Cir. 2016); see also 35 U.S.C. § 100(i)(1)(B) (defining “effective
    filing date” as “the filing date of the earliest application for which the patent or
 27 application is entitled, as to such invention, to a right of priority … or to the benefit of
 28 an earlier filing date …”).
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  1 F.3d 1363, 1376–77 (Fed. Cir. 2016) (en banc). Whether the on-sale bar applies is a
  2 question of law based on underlying facts. Dana Corp. v. Am. Axle & Mfg., Inc., 279
  3 F.3d 1372, 1375 (Fed. Cir. 2002).
  4          The on-sale bar “is triggered when a claimed invention is: (1) ready for
  5 patenting; and (2) the subject of a commercial offer for sale prior to the critical date.”
  6 Merck & Cie v. Watson Labs., Inc., 822 F.3d 1347, 1351 (Fed. Cir. 2016) (citing Pfaff
  7 v. Wells Elecs., Inc., 525 U.S. 55, 67–68 (1998)). “A single sale or offer to sell is
  8 enough to bar patentability.” Intel Corp. v. Int’l Trade Comm’n, 946 F.2d 821, 830
  9 (Fed. Cir. 1991). And “ready for patenting” means that the invention was reduced to
 10 practice—i.e., either a physical product was manufactured, or written descriptions and
 11 drawings sufficiently detailed the invention. Hamilton Beach Brands, Inc. v. Sunbeam
 12 Prods., 726 F.3d 1370, 1375 (Fed. Cir. 2013). The on-sale bar invalidates a patent
 13 claim when the product sold or offered for sale “fully anticipated the claimed invention
 14 or would have rendered the claimed invention obvious by its addition to the prior art.”
 15 Allen Eng’g Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1352 (Fed. Cir. 2002)
 16 (citations, quotation marks omitted).
 17          The application that ultimately issued as the ’970 patent was filed on September
 18 14, 2012 and claimed priority to a provisional application filed on April 3, 2012.
 19 SUF ¶ 127. Accordingly, the critical date of the ’970 patent is April 3, 2011—i.e., one
 20 year before the filing of the provisional application. E.g., Helsinn Healthcare S.A. v.
 21 Teva Pharms. USA, Inc., 855 F.3d 1356, 1360 (Fed. Cir. 2017), aff’d, 139 S.Ct. 628
 22 (2019). As shown below, the generally rectangular Helix 5-25 fibers, which were
 23 reduced to practice and on sale in the United States nearly three years before the
 24 critical date, render the ’970 patent invalid as obvious or, in the alternative, anticipated.
 25              1.    The claims of the ’970 patent are obvious in view of the generally
 26                    rectangular Helix 5-25 fibers on sale long before the critical date.
 27          A patent claim is obvious “if the differences between the subject matter sought
 28 to be patented and the prior art are such that the subject matter as a whole would have
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  1 been obvious at the time the invention was made to a person having ordinary skill in
  2 the art to which said subject matter pertains.” 35 U.S.C. § 103 (pre-AIA). Because
  3 obviousness “is a question of law based on underlying questions of fact[,] . . .
  4 [s]ummary judgment of obviousness is appropriate if ‘the content of the prior art, the
  5 scope of the patent claim, and the level of ordinary skill in the art are not in dispute,
  6 and the obviousness of the claim is apparent in light of these factors.’” Ill. Tool Works
  7 v. MOC Prods. Co., 856 F. Supp. 2d 1156, 1180 (S.D. Cal. 2012) (quoting KSR Int’l
  8 Co. v. Teleflex Inc., 550 U.S. 398, 427 (2007)). Furthermore, “[i]t is well settled that a
  9 patent can be obvious in light of a single reference if it would have been obvious to
 10 modify that reference in a way that results in the patented invention.” Kroy IP
 11 Holdings, LLC v. Safeway, Inc., 107 F. Supp. 3d 656, 672 (E.D. Tex. 2015) (granting
 12 motion for summary judgment of invalidity for obviousness based on a single prior-art
 13 reference) (citing, inter alia, Graham v. John Deere Co., 383 U.S. 1, 21–16 (1966)
 14 (finding patent invalid on two grounds, each based on single-reference obviousness);
 15 Boston Scientific Scimed, Inc. v. Cordis Corp., 554 F.3d 982, 990–992 (Fed. Cir. 2009)
 16 (overturning jury verdict of non-obviousness based on single-reference obviousness)).
 17 In short, an obvious variation of a prior-art product cannot be the subject of a patent.
 18 Lamb-Weston, Inc., v. McCain Foods, Ltd., 78 F.3d 540, 549 (Fed. Cir. 1996).
 19              When there is a … problem and there are a finite number of identified,
 20              predictable solutions, a person of ordinary skill has good reason to
 21              pursue the known options within his or her technical grasp. If this
 22              leads to the anticipated success, it is likely the product not of
 23              innovation but of ordinary skill and common sense. In that instance
 24              the fact that a combination was obvious to try might show that it was
 25              obvious under § 103.
 26 KSR, 550 U.S. at 421 (2007).
 27          The generally rectangular Helix 5-25 product on sale beginning in 2008 (the
 28 “2008 Helix 5-25 Product”) was a reinforcing fiber with a cross section in the shape of
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  1 a bilateral truncated circle, as recited in all claims 2 of the ’970 patent. SUF ¶¶ 184–86;
  2 Doc. 29-2 at 20–21, claims 1–22. The body of the 2008 Helix 5-25 Product was
  3 twisted along its longitudinal axis, as recited in all claims of the ’970 patent. SUF
  4 ¶ 191; Doc. 29-2 at 20–21, claims 1–22. The 2008 Helix 5-25 Product had between 3
  5 and 4 twists of between 180 and 360 degrees along the longitudinal axis per every
  6 length of between 20 mm and 40 mm, as recited in claims 5–6, 11–12, and 20–21. SUF
  7 ¶ 192; Doc. 29-2 at 20–21, claims 5–6, 11–12, 20–21. The body of the 2008 Helix 5-
  8 25 Product was made of metal, as recited in claims 2 and 17. SUF ¶ 193; Doc. 29-2 at
  9 20, claims 2, 17. And the 2008 Helix 5-25 Product was used to reinforce cement or
 10 other matrix materials, as recited in claims 16–22. SUF ¶ 194; Doc. 29-2 at 20–21,
 11 claims 16–22.
 12          The 2008 Helix 5-25 Product was made by passing a round wire through rollers
 13 under sufficient force to produce fiber with a bilateral truncated circle cross-sectional
 14 shape, as recited in claim 7. SUF ¶ 195; Doc. 29-2 at 20, claim 7. The 2008 Helix 5-25
 15 Product was made by continuously receiving a round wire, forming it into a fiber, and
 16 simultaneously pulling and twisting the fiber a threshold number of twists per inch
 17 while retaining the aspect ratio, as recited in claims 8 and 10. SUF ¶ 196; Doc. 29-2 at
 18 20, claims 8, 10. The wire used to make the 2008 Helix 5-25 Product had a diameter of
 19 0.50 mm ± 0.02 mm, a range that includes the 0.51 mm recited in claim 9. SUF ¶ 197;
 20 Doc. 29-2 at 20, claim 9. And the method of making the 2008 Helix 5-25 Product
 21 comprised the steps of cutting the twisted fiber to a threshold length of between 20 mm
 22 and 40 mm free of holding the twisted fiber while retaining the aspect ratio of the fiber,
 23
 24   2
     Claims 10–22 recite a “bitruncated circle”—a term that is not defined in the
 25 specification and does not even appear outside the claims. Doc. 29-2 at 20–21, claims
 26 10–22; SUF ¶ 187. For purposes of this motion, the precise construction of
    “bitruncated circle” is immaterial, since the term is either used synonymously with
 27 “bilateral truncated circle” or is a broader term that would necessarily include any
 28 bilateral truncated circle. SUF ¶¶ 188–90.
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  1 as recited in claims 10–13. SUF ¶ 198; Doc. 29-2 at 20, claims 10–13.
  2          Only two elements of the ’970 patent’s claims are not present in the target
  3 specifications of the 2008 Helix 5-25 Product: thickness and aspect ratio. Claims 1, 10,
  4 and 16 recite a “thickness (t) of between 0.01375 and 0.0159 inches.” SUF ¶¶ 133–
  5 141. Helix’s 2008 manufacturing specification for generally rectangular Helix 5-25
  6 fibers required a cross-sectional thickness of 0.3013 mm (0.0123”)—a slightly more
  7 flattened fiber than disclosed in the ’970 patent. Id. ¶ 40. Similarly, claims 1, 3–4, 10,
  8 16, and 18–19, recite aspect ratios ranging from 1.53:1 (thickest) to 1:93:1 (flattest).
  9 Id. ¶¶ 133–141; Doc. 29-2 at 20, claims 3–4, 18–19. Helix’s 2008 manufacturing
 10 specifications disclose a 2:1 aspect ratio—i.e., 0.0246” x 0.0123”—again, slightly
 11 more flattened than the fiber disclosed in the ’970 patent. SUF ¶ 40.
 12          But the ’713 patent—undisclosed to the Patent Office during prosecution of the
 13 ’970 patent—expressly suggests modifying the dimensions of the fibers to arrive at all
 14 claimed ranges in the ’970 patent. The ’713 patent is titled “Optimized Geometries of
 15 Fiber Reinforcements of Cement, Ceramic and Polymeric Based Composites” and
 16 issued on November 23, 1999. Id. ¶ 154. The ’713 patent discloses the use of twisted
 17 steel fibers as reinforcement for concrete to replace rebar. Id. ¶ 155. Thus, the ’713
 18 patent is in the exact same field of art and deals with the exact same problems as the
 19 ’970 patent. Id. ¶ 156. The ’713 patent teaches as follows:
 20                  Based on the observation that the bond at the interface between a
 21              discontinuous fiber and a matrix is the weak link that governs the
 22              mechanical properties of the composite, it is essential that the pull-out
 23              load per fiber, due to bond, be maximized. One way to increase the
 24              pull-out load is by providing a more efficient fiber cross-section.
 25              However, it is important to keep the fibers compact in cross-section
 26              because fibers having compact cross-sections are stiffer than flat
 27              fibers and can be more easily mixed with the matrix.
 28 Id. ¶ 157 (emphasis added).
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  1          The ’713 patent further teaches as follows:
  2                  [I]t has been observed that a flat fiber does not mix with the
  3              cement matrix as well as a round fiber. The compactness of the fiber
  4              section and its stiffness in all directions, seems to influence the
  5              rheology of the mix and the performance of the resulting composite.
  6              This implies that for mixing purposes, a compact cross-section is
  7              better than a flat one.
  8 Id. ¶ 158.
  9          The ’713 patent identifies problems other than difficult mixing that can be
 10 caused by fibers that are too flat: “Flat fibers, when twisted would form tunnel-like
 11 segments that trap air. These tunnel-like segments may not be penetrated by the matrix
 12 and may represent crack initiation points.” Id. ¶ 159.
 13          But the ’713 patent also teaches against fibers that are too round, stating:
 14                  A very efficient method of improving the bond is by twisting the
 15              fiber. However, twisting is not always effective, such as: 1) twisting is
 16              not effective with round fibers, 2) twisting cannot be applied
 17              uniformly to fibers of irregular cross section, and 3) twisting leads to
 18              undesirable tunneling in fibers of flat cross-section; tunnel-like
 19              portions are difficult to penetrate by the matrix, leading to increased
 20              porosity, possible sites for stress concentration, and poorer interfacial
 21              zone between the fiber and the matrix. These effects tend to adversely
 22              affect the mechanical properties of the composite.
 23 Id. ¶160 (emphases added).
 24          Thus, the ’713 patent teaches that the optimum geometry for concrete-
 25 reinforcing fibers is a uniform cross-section that is neither round nor too flat—thereby
 26 suggesting to one of skill to reduce the aspect ratio of a rectangular fiber to make it less
 27 flat. Id. ¶¶ 161–62. Furthermore, in the ’713 patent’s nomenclature, a “flat fiber is
 28 defined here as a fiber of rectangular cross-section with the larger side being at least
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  1 twice the smaller side.” Id. ¶ 163. That is, a 2:1 aspect ratio, like the 2008 target ratio
  2 for the generally rectangular Helix 5-25 product, is too flat, and the ’713 patent
  3 expressly teaches to make such fibers less flat. Id. ¶ 164. Thus, the ’713 patent
  4 expressly teaches to make the Helix 5-25 generally rectangular fiber thicker, with
  5 smaller aspect ratios—i.e., less than 2:1. Id. ¶ 165. The ’713 patent’s teaching is an
  6 express suggestion to one of skill to vary the 2:1 ratio and increase the 0.0123”
  7 thickness to arrive at a smaller ratio. Id. ¶ 166–67.
  8          In light of the ’713 patent’s teaching that the fiber should not be round, the ’713
  9 patent teaches that the aspect ratio should be anywhere between 2:1 (too flat) and 1:1
 10 (round). When starting with the 0.50 mm wire used to manufacture the generally
 11 rectangular Helix 5-25 product, Id. ¶¶ 6, 37, 40, 168, this range of aspect ratios teaches
 12 a thickness between 0.0123 inches and 0.019685 inches. Id. ¶ 169. Thus, the ’713
 13 patent makes the entire range of aspect ratios between 2:1 and 1:1 and the entire range
 14 of thicknesses between 0.0123 inches and 0.019685 inches obvious to try. See KSR,
 15 550 U.S. at 421.
 16          Based on the teaching of the ’713 patent, one of ordinary skill in the art is
 17 directed to modify the 2:1 aspect ratio of the generally rectangular Helix 5-25 product
 18 into all of the ’970 patent’s claimed ranges. SUF ¶ 170. Such a modification would
 19 also provide the claimed thickness ranges, because the Helix 5-25 is made from wire
 20 with a diameter of 0.50 mm ± 0.02mm. Id. ¶¶ 41, 197. When claimed ranges overlap
 21 with ranges disclosed in the prior art, a prima facie case of obviousness exists. In re
 22 Peterson, 315 F.3d 1325, 1329 (Fed. Cir. 2003). Even a slight overlap of ranges is
 23 enough to establish a prima facie case. Id. Thus, “when, as here, the claimed ranges are
 24 completely encompassed by the prior art, the conclusion is even more compelling than
 25 in cases of mere overlap.” Id. at 1330.
 26          “‘[W]here the general conditions of a claim are disclosed in the prior art, it is not
 27 inventive to discover the optimum or workable ranges by routine experimentation.’”
 28 E.I. DuPont de Nemours & Co. v. Synvina C.V., 904 F.3d 996, 1006 (Fed. Cir. 2018)
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 (quoting In re Aller, 220 F.2d 454, 456 (C.C.P.A. 1955)). This rule applies in cases “in
  2 which the optimized variable is a ‘result effective variable.’” In re Applied Materials,
  3 Inc., 692 F.3d 1289, 1295 (Fed. Cir. 2012) (quoting In re Antonie, 559 F.2d 618, 620
  4 (C.C.P.A. 1977)). “A recognition in the prior art that a property is affected by the
  5 variable is sufficient to find the variable result-effective.” Id. at 1295. The ‘713 patent
  6 establishes that thickness and aspect ratio are result-effective variables—i.e., fibers
  7 with more compact cross-sections are easier to mix, while fibers that are too flat form
  8 air-trapping tunnels and cause cracking. SUF ¶¶ 157–60.
  9          A segment of a range disclosed in the prior art may still be patentable in certain
 10 narrow circumstances if the smaller range is “critical”—i.e., that it produces “‘a new
 11 and unexpected result which is different in kind and not merely in degree from the
 12 results of the prior art.’” See DuPont, 904 F.3d at 1006 (quoting Aller, 220 F.2d at
 13 456). But nothing in the’970 patent and or its file history indicates that there is
 14 anything “critical” about the performance of the fibers in their function as a concrete
 15 reinforcement for any claimed range. SUF ¶¶ 147–48. Nothing suggests that the
 16 claimed ranges perform any better in degree—much less in kind—than the 2:1 ratio
 17 and 0.0123” thickness of the generally rectangular Helix 5-25 fibers that went on sale
 18 in 2008. Id. ¶¶ 149–50. Because the fiber-thickness and aspect-ratio ranges recited in
 19 the ’970 patent are merely result-effective variables directed to known, predictable
 20 results, Helix cannot rebut the prima facie case that the ’970 patent’s claims are
 21 obvious.
 22          Moreover, it would be readily apparent to one of skill in the art how to modify
 23 the dimensions of the 2008 generally rectangular Helix 5-25 fibers to fall within the
 24 ranges recited in the ’970 patent. Id. ¶ 171. A single adjustment on the prior-art
 25 machine being used to manufacture the fibers changes the position of the flat rollers
 26 through which the raw wire is pulled. Id. ¶ 172. By increasing the distance between the
 27 rollers—a simple mechanical change provided in the design of the machine—thickness
 28 can be increased and aspect ratio reduced. Id. ¶¶ 173–74. This is because the wire is
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 not deformed as much when there is more space between the rollers. Id. ¶ 175.
  2 According to Mr. Orabone, a screw setting on the machine allowed adjustments to
  3 fiber thickness. Id. ¶¶ 52, 176. Thus, one of ordinary skill would have a reason to
  4 modify the fibers and a reasonable expectation of success through the simple expedient
  5 of changing the machine settings as designed. Id. ¶¶ 177–78.
  6          Separate and apart from the express modification suggestion in the ’713 patent,
  7 one of ordinary skill would also have known that by increasing the space between the
  8 rollers, there would be less force created against the rollers by the passing of the wire,
  9 and less wear on the rollers. Id. ¶¶ 179–80. Accordingly, there is also the known
 10 advantage of extending machine life if the parts endure less force and consequently
 11 less wear. Id. ¶ 181. This is an independent reason for one of skill to modify and
 12 increase the thickness and decrease the aspect ratio of the Helix 5-25. Id. ¶ 182. Such
 13 variations between the 2:1 aspect ratio and 0.0123” thickness to the full scope of the
 14 claimed ranges would be a matter of routine optimization by one of ordinary skill. See
 15 Merck Sharp & Dohme Corp. v. Hospira, Inc., 874 F.3d 724, 730 (Fed. Cir. 2017)
 16 (affirming judgment of obviousness); Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1371
 17 (Fed. Cir. 2007) (same).
 18          In addition, one of skill would have known that, based on the target
 19 specifications and the specifications for the raw wire used by Helix pre-critical date,
 20 fibers within the claimed ranges would naturally be produced. SUF ¶ 183. Because the
 21 Helix 5-25 target specifications and wire specifications would naturally produce wires
 22 in the claimed ranges, those specifications independently disclose the “missing”
 23 elements from claims 1, 10, and 16.
 24          Finally, Helix will be unable to show that the fiber-thickness and aspect-ratio
 25 ranges claimed in the ’970 patent are non-obviousness due to any secondary
 26 considerations, such as commercial success. Even if Helix comes forward with such
 27 evidence and the Court gives it its “full and proper weight,” the Court may still
 28 properly conclude that the ’970 patent’s claims would have been obvious since
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 “merely ordinary experimentation” was required to arrive at the ranges recited in the
  2 ’970 patent in light of the ’713 patent’s express teachings. See Merck v. Hospira, 874
  3 F.3d at 731 (affirming judgment of obviousness because, “even giving the evidence of
  4 commercial success its full and proper weight, the court did not err in concluding that
  5 the claims would have been obvious at the time the invention was made in light of the
  6 merely ordinary experimentation required to arrive at the [patent-in-suit], starting from
  7 either [of two prior-art references]”). In any event, for evidence of commercial success
  8 or other secondary considerations to be relevant, Helix must show a nexus between
  9 such evidence and the merits of the claimed invention. “If commercial success is due
 10 to an element in the prior art, no nexus exists.” Tokai Corp. v. Easton Enters., Inc., 632
 11 F.3d 1358, 1369 (Fed. Cir. 2011). Thus, any evidence of Helix’s commercial success
 12 since April 3, 2012 is irrelevant unless Helix can show that it was the result of fiber
 13 thicknesses or aspect ratios disclosed in the ’970 patent—i.e., the only claim elements
 14 not already practiced by the prior-art Helix 5-25 fibers that Helix licensed under the
 15 prior-art ’713 patent. See Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1313 (Fed.
 16 Cir. 2006) (rejecting secondary-consideration evidence because purported commercial
 17 success was attributable to “feature[s that were] not new”).
 18              2.    The claims of the ’970 patent are anticipated by generally
 19                    rectangular Helix 5-25 fibers sold in 2009.
 20          “It is well settled that a claim is anticipated if each and every limitation is found
 21 either expressly or inherently in a single prior art reference.” Celeritas Techs., Ltd. v.
 22 Rockwell Int'l Corp., 150 F.3d 1354, 1361 (Fed. Cir. 1998) As shown above, the
 23 generally rectangular Helix 5-25 fibers that went on sale in 2008 were intended to
 24 practice all but two elements—thickness and aspect ratio—disclosed in the’970
 25 patent’s claims. According to the manufacturing specifications, the fibers were
 26 supposed to have a flatter generally rectangular cross-section than the ’970 patent
 27 discloses. But in practice, actual Helix 5-25 fibers sold in 2009—still well before the
 28 critical date—had thicknesses and aspect ratios that brought them within the scope of
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 all claims of the ’970 patent. Thus, in addition to being invalid as obvious, all claims of
  2 the ’970 patent are also invalid as anticipated.
  3          The Helix 5-25 fibers in question were sold to an Australian end-user by Reuben
  4 Ramsay of Helix Fiber Australasia in late September 2009. SUF ¶¶ 92–94. But
  5 because Helix had no foreign sales force of its own, it first had to sell the fibers to
  6 Helix Fiber Australasia before the fibers could be distributed in Australia. Id. ¶¶ 81–
  7 83. As Mr. Orabone testified, all generally rectangular Helix 5-25 product was
  8 manufactured in Grand Rapids, Michigan, and any Helix 5-25 product manufactured
  9 by Helix in 2009 would have been the same product whether it was sold in the United
 10 States or in Australia. Id. ¶¶ 80, 88.
 11          Mr. Orabone received emailed orders from Helix Fiber Australasia and arranged
 12 the logistics of shipping and delivery. Id. ¶¶ 84–85. When Helix 5-25 product was
 13 shipped from Helix to Helix Fiber Australasia, Helix Fiber Australasia took title to the
 14 product as soon as the order left Helix’s plant in Grand Rapids, Michigan, and Helix
 15 Fiber Australasia was thereafter responsible for loss or damage to the product. Id. ¶ 86.
 16 Helix Fiber Australasia paid for the product by wiring money from Australia to a U.S.
 17 account owned by Helix. Id. ¶ 87.
 18          The Federal Circuit looks to the Uniform Commercial Code and other traditional
 19 sources to define a “sale.” E.g., Rotec Indus., Inc. v. Mitsubishi Corp., 215 F.3d 1246,
 20 1255 (Fed. Cir. 2000). For purposes of the on-sale bar, a sale is “a contract between
 21 parties to give and pass rights of property for consideration which the buyer pays or
 22 promises to pay the seller for the thing bought or sold.” Zacharin v. United States, 213
 23 F.3d 1366, 1370 (Fed. Cir. 2000). “Under the UCC, ‘a “sale” consists in the passing of
 24 title from the seller to the buyer for a price.’” Classic Concepts, Inc. v. Linen Source,
 25 Inc., Nos. CV 04-8088, CV 04-8457 GPS (MANx), 2006 WL 4756377, at *17 (C.D.
 26 Cal. Apr. 27, 2006) (quoting UCC § 2-106). “[I]f the contract does not require delivery
 27 at the buyer’s destination, then ‘title passes to the buyer at the time and place of
 28 shipment.’” Id. (quoting UCC § 2-401(2)(a)).
      Cornerstone Manufacturing and Distribution Inc.’s
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  1          Although the Helix 5-25 fibers in question were sold to an Australian company,
  2 the title to the Helix 5-25 fibers passed in Michigan, and payment was received in
  3 Michigan. SUF ¶¶ 86–87. Thus, the generally rectangular Helix 5-25 fibers sold to
  4 Helix Fiber Australasia were “on sale in this country” within the meaning of 35 U.S.C.
  5 § 102(b) (pre-AIA). See Zacharin, 213 F.3d at 1370; see also Robbins Co. v. Lawrence
  6 Mfg. Co., 482 F.2d 426, 434 (9th Cir. 1973) (invention manufactured in United States
  7 and shipped to Australia was on sale in United States because sufficient prefatory
  8 activity to sale occurred in United States), cited with approval in Caterpillar Inc. v.
  9 Int’l Trade Comm’n, 837 F. App’x 775, 778 (Fed. Cir. 2020). Indeed, as Mr. Orabone
 10 testified, Helix sold thousands of dollars of Helix 5-25 product with a generally
 11 rectangular cross-sectional shape, and the product it sold in Australia was the same
 12 product it sold in the United States. SUF ¶¶ 79, 88.
 13          Examination and testing of the Sample Box of Helix 5-25 fibers sold by Helix to
 14 Helix Fiber Australasia has shown that significant percentages of the generally
 15 rectangular fibers being manufactured by Helix in 2009 practiced all limitations of all
 16 claims of the ’970 patent. Id. ¶¶ 199, 222. Of 101 fibers randomly selected from the
 17 Sample Box and viewed under an optical microscope equipped with a digital camera
 18 and measurement software, more than three fourths (75.2%) met all limitations of the
 19 broadest claims—i.e., claims 1–2, 4–8, 10–17, and 19–22. Id. ¶¶ 200–218. Almost one
 20 fourth (24.8%) of the fibers met all limitations of claim 9, which recites a wire
 21 diameter of 0.51 mm. Id. ¶ 219; Doc. 29-2 at 20, claim 9. And 8.9% of the fibers met
 22 all limitations of the two narrowest claims—i.e., claims 3 and 18, which limit the
 23 permissible aspect ratio of the bilateral truncated circle cross-sectional shape to 1.72:1
 24 or 1.73:1. SUF ¶¶ 220–21; Doc. 29-2 at 20, claims 3, 18.
 25          Thus, Helix was already making Helix 5-25 fibers that practiced all claims of the
 26 ’970 patent in 2009—two years before the critical date—and selling those Helix 5-25
 27 fibers to customers in both the United States and Australia. Because these devices
 28 “fully anticipated the claimed invention” by embodying all limitations of all claims,
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  1 the ’970 patent is invalid as anticipated under the on-sale bar, in addition to being
  2 invalid as obvious.
  3        C. The generally rectangular Helix 5-25 fibers and the ’713 patent were
  4           material to the patentability of the ’970 patent.
  5          In addition to its counterclaim seeking a declaration that the ’970 patent is
  6 invalid, Cornerstone also asserts a counterclaim seeking a declaration that the ’970
  7 patent is unenforceable due to inequitable conduct. Doc. 37 at 45:12–49:15. The
  8 inequitable-conduct counterclaim alleges that Mr. Pinkerton, as a named inventor of
  9 the ’970 patent, intentionally failed to disclose and directed others not to disclose prior
 10 sales and public uses of the Helix 5-25 product, as well as the existence of the ’713
 11 patent. See Doc. 37 at 46:8–20, 47:9–18. The counterclaim further alleges that, but for
 12 Mr. Pinkerton’s decision to withhold information about the Helix 5-25 product and the
 13 ’713 patent from the Patent Office during prosecution, the ’970 patent would not have
 14 issued. See Doc. 37 at 46:17–20, 47:19–22
 15          While the inequitable-conduct counterclaim as a whole is beyond the scope of
 16 this motion, the Court may nonetheless find that the ’713 patent and the generally
 17 rectangular Helix 5-25 product on sale before the critical date were material to the
 18 patentability of the ’970 patent. The standard for the materiality required to establish
 19 inequitable conduct is known as “but-for materiality.” Therasense, Inc. v. Becton,
 20 Dickinson & Co., 649 F.3d 1276, 1291 (Fed. Cir. 2011). Prior art is but-for material if
 21 the Patent Office “would not have allowed a claim had it been aware of the
 22 undisclosed prior art.” Id. “[I]f a claim is properly invalidated in district court based on
 23 the deliberately withheld reference, then that reference is necessarily material because
 24 a finding of invalidity in a district court requires clear and convincing evidence, a
 25 higher evidentiary burden than that used in prosecution at the [Patent Office].” Id. at
 26 1292.
 27          As shown above, all claims of the ’970 patent are invalid as obvious under the
 28 on-sale bar based on Helix’s sales of generally rectangular Helix 5-25 fibers before the
      Cornerstone Manufacturing and Distribution Inc.’s
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  1 critical date, in light of the suggestions to modify found in the ’713 patent.
  2 Alternatively, all claims of the ’970 patent are invalid as anticipated under the on-sale
  3 bar based on Helix’s sales of Helix 5-25 fibers in the United States and Australia that
  4 practiced all limitations of all claims of the ’970 patent. Moreover, Helix argued during
  5 prosecution of the ’970 patent that the bilateral truncated circle cross-section it had
  6 been using in the Helix 5-25 fibers since 2008 distinguished over prior art. SUF ¶ 151.
  7 The Examiner rejected several claims based in part on a prior-art reference that
  8 disclosed “a fiber which contains a truncated circular portion.” Id. ¶ 152. Helix
  9 responded that the prior-art reference “does not teach nor make obvious the use of a
 10 fiber that has the cross-sectional shape of a bilateral truncated circle.” Id. ¶ 153.
 11          Because the Patent Office would not have allowed any claims of the ’970 patent
 12 if it had known that Helix was already making fibers with bilateral truncated circle
 13 cross-sections for three years before the critical date, the Court should find that the
 14 generally rectangular Helix 5-25 fibers were “but-for” material to the patentability of
 15 the ’970 patent. Additionally, the Court should find that the ’713 patent was “but-for”
 16 material because it expressly suggests modifying the dimensions of the generally
 17 rectangular Helix 5-25 fibers to arrive at the ’970 patent’s claimed dimensions and
 18 ranges.
 19 IV. Conclusion
 20          For the reasons set forth above, Cornerstone respectfully requests that the Court
 21 (1) grant its motion for partial summary judgment; (2) enter judgment in favor of
 22 Cornerstone that all claims of U.S. Patent No. 10,266,970 are invalid as obvious under
 23 35 U.S.C. § 102(b) (pre-AIA) or, alternatively, as anticipated under 35 U.S.C. § 103
 24 (pre-AIA) and, thus, not infringed; and (3) enter judgment in favor of Cornerstone that
 25 the following prior art was material to the patentability of U.S. Patent No. 10,266,970:
 26 (a) U.S. Patent No. 5,989,713 and (b) Helix 5-25 fibers manufactured and sold by
 27 Pensmore before the critical date of U.S. Patent No. 10,266,970 having a cross-
 28 sectional shape that was generally rectangular and/or a bilateral truncated circle.
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  1
                                                     HOVEY WILLIAMS LLP
  2
  3          October 13, 2022                        By: /s/ Scott R. Brown
                                                           Scott R. Brown
  4
  5                                                  Attorneys for Defendant/Counterclaimant
  6
  7                                          Certificate of Service
  8          On October 13, 2022, the foregoing Notice of Hearing on Motion and
  9 Memorandum in Support of Cornerstone Manufacturing and Distribution, Inc.’s
 10 Motion for Partial Summary Judgment of Invalidity was electronically filed with the
 11 Clerk of the Court via the CM/ECF System, which will deliver electronic notification
 12 to all registered counsel of record.
 13                                                        /s/ Scott R. Brown
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